                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                C.A. No.: 5:21-CV-130

FRANCINA BATES,

Plaintiff,

        vs.

WELLS FARGO & COMPANY SHORT
TERM DISABILITY PLAN,

            Defendant.
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                                  NOTICE OF SETTLEMENT

        Plaintiff, on behalf of the parties, hereby respectfully gives the court notice that the

matter sub judice has settled. As soon as the closing papers have been properly executed, the

parties will forward them over to the court.



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Date: August 5, 2021                           Attorneys for Plaintiff




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